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                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                             ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT                              October 04, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

                                                    §
    In re:                                          §      Chapter 11
                                                    §
    STRUDEL HOLDINGS LLC AND                        §      Case No. 23-90757 (CML)
    AVR AH LLC,                                     §
                                                    §      (Jointly Administered)
                  Debtors.1                         §
                                                    §

                    ORDER REGARDING COORDINATED SCHEDULE
                FOR CONTESTED MATTER AND ADVERSARY PROCEEDING
                              [Relates to Docket No. 100]

         Counsel for Nineteen77 Capital Solutions A LP and Bermudez Mutuari, Ltd. filed a

certificate of counsel representing that the parties thereto have agreed upon coordinated schedules

for certain events in the contested matter concerning the Debtors’ Motion Seeking Entry of an

Order Precluding Certain Alleged Secured Parties from Submitting Credit Bids Pursuant to

Sections 105(a) and 363(k) of the Bankruptcy Code (ECF No. 6) (the “Credit Bid Disallowance

Motion”) and in adversary proceeding number 23-09003 (the “Adversary Proceeding”). Upon

consideration of the proposed coordinated schedules and the parties’ agreement thereto, the Court

finds that the proposed schedules are appropriate under the circumstances and that good cause

exists to alter all existing deadlines affected thereby.

         IT IS HEREBY ORDERED THAT:

         1.       The schedules annexed hereto, including all footnotes therein, are effective

immediately and nunc pro tunc for all deadlines set forth therein that predate this Order.




1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
identification number, are: AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’
service address is: PO Box 4068, Aspen, CO 81612.
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       2.      All discovery taken in the contested matter concerning the Credit Bid Disallowance

Motion may also be used in the Adversary Proceeding and all discovery taken in the Adversary

Proceeding may also be used in the contested matter concerning the Credit Bid Disallowance

Motion.

       3.      This Order is without prejudice to any party’s right to request a modification of the

schedules annexed hereto.

       4.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



          August04,
          October
Houston, Texas    02,2023
                      2019
Dated: __________________, 2023
                                                 HONORABLE CHRISTOPHER M. LOPEZ
                                                 UNITED STATES BANKRUPTCY JUDGE




                                                 2
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                                             Credit Bid Disallowance Motion Schedule

Event                                                                                               Deadline
Deadline for service of discovery requests1                                                         Friday, August 11
Deadline for Debtors to identify expert witnesses and topics of anticipated testimony2              Friday, August 25
Deadline to serve responses and objections to discovery requests3                                   Friday, August 25
Deadline to serve any corporate representative notice of deposition4                                Saturday, August 26
Deadline to meet and confer regarding responses and objections to discovery requests                Sunday, August 27
Deadline for Lenders to identify expert witnesses and topics of anticipated testimony               Thursday, August 31
Deadline to substantially complete production of documents in response to discovery requests        Friday, September 1
Depositions of fact and expert witnesses                                                            Saturday, September 2 through
                                                                                                    Friday, September 8
Deadline for Lenders’ response to credit bid disallowance motion                                    Friday, September 8
Deadline for Debtors’ reply to Lenders’ response                                                    Friday, September 15
Hearing                                                                                             Thursday, September 21

1
        The parties may serve additional document requests after August 11 and will meet and confer regarding a final deadline for
service of any additional Requests. To the extent a party serves additional document requests after August 11, additional responses
and objections will be due 3 three days thereafter, and the receiving party will attempt in good faith to produce documents promptly
and in advance of the deadline to substantially complete document production.
2
        Both the Debtors and the Lenders shall be limited to at most one expert witness per side, who will opine on the topic of credit
bid chilling.
3
       In addition to the discovery requests served by each party pursuant to Bankruptcy Rules 7026, 7034, 9014, and/or 9016, this
deadline shall also include responses to the Lenders’ First Set of 2004 Examinations pursuant to Bankruptcy Rule 2004 served on the
Debtors, Lina Souki Rizzuto, the Souki Family 2016 Trust, Charif Souki, Christopher Souki, Karim Souki, and Ajax Holdings LLC.
4
        The Debtors shall be limited to one fact witness deposition, which will be a corporate representative deposition. However, if
the Lenders plan to present testimony at the September 21, 2023 hearing from someone other than their corporate representative, the
Lenders shall promptly disclose the identity of the individual and the parties will cooperate in good faith to facilitate a deposition of
the individual in advance of the hearing. Additionally, if either side wishes to present the testimony of an individual at the September
21, 2023 hearing who was not deposed during the deposition period, such side will promptly disclose the identity of the individual and
the parties will cooperate in good faith to facilitate a deposition of the individual in advance of the hearing.

                                                                    3
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                                                     Adversary Proceeding Schedule

Event                                                                                            Deadline
Deadline for service of initial discovery requests                                               Friday, August 11

Deadline to respond to initial discovery requests                                                Friday, August 25
Deadline to substantially complete production of documents in response to initial requests for   Friday, September 22
production
Plaintiffs’ deadline to serve expert reports                                                     Thursday, September 28
Defendants’ deadline to serve expert reports                                                     Wednesday, October 25
Discovery cutoff                                                                                 Wednesday, November 1
Deadline to file dispositive motions                                                             Monday November 6
Deadline to file responses to dispositive motions                                                Monday, November 13
Deadline to file replies in support of dispositive motions                                       Friday, November 17
Deadline to file joint pretrial order                                                            Friday, November 17
Pretrial/status conference                                                                       Monday, November 20
Trial                                                                                            To be scheduled




                                                                  4
